Case 22-20979-TPA   Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03   Desc Main
                             Document      Page 1 of 44




      Ally
      PO Box 380901
      Bloomington, MN        55438-0901


      Select Portfolio Services
      Attn: Bankruptcy Department
      PO Box 65250
      Salt Lake City, UT 84165-0250
                                                                    Case 22-20979-TPA
                                                            B201B (Form 201B) (12/09)
                                                                                                    Doc 12          Filed 06/06/22 Entered 06/06/22 23:30:03                      Desc Main
                                                                                                                   Document      Page 2 of 44
                                                                                                          United States Bankruptcy Court
                                                                                                 Western District of Pennsylvania, Pittsburgh Division

                                                            IN RE:                                                                                           Case No.
                                                            Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                     Chapter 7
                                                                                                       Debtor(s)

                                                                                           CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                               UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                             Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                            I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                            notice, as required by § 342(b) of the Bankruptcy Code.


                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer                                 Social Security number (If the bankruptcy
                                                            Address:                                                                                        petition preparer is not an individual, state
                                                                                                                                                            the Social Security number of the officer,
                                                                                                                                                            principal, responsible person, or partner of
                                                                                                                                                            the bankruptcy petition preparer.)
                                                                                                                                                            (Required by 11 U.S.C. § 110.)
                                                            X
Software Copyright (c) 2022 CINGroup - www.cincompass.com




                                                            Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                            partner whose Social Security number is provided above.

                                                                                                                     Certificate of the Debtor

                                                            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                            Salzman, Leslie E. Jr. & Salzman, Melissa L.                           X /s/ Salzman                                               6/06/2022
                                                            Printed Name(s) of Debtor(s)                                              Signature of Debtor                                            Date


                                                            Case No. (if known)                                                    X /s/                                                       6/06/2022
                                                                                                                                      Signature of Joint Debtor (if any)                             Date


                                                            Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                            Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                            NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                            attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                            page 3 of Form B1 also include this certification.
              Case 22-20979-TPA                     Doc 12          Filed 06/06/22 Entered 06/06/22 23:30:03                             Desc Main
                                                                   Document      Page 3 of 44

              Fill in this information to identify your case:

 Debtor 1                  Leslie E. Salzman, Jr.
                           First Name                       Middle Name                Last Name

 Debtor 2                  Melissa L. Salzman
 (Spouse if, filing)       First Name                       Middle Name                Last Name

                                                    WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
creditors have claims secured by your property, or
you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
        the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
          and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
         write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                secures a debt?                                     as exempt on Schedule C?



    Creditor's         Select Portfolio Services                           Surrender the property.                                 No
    name:                                                                  Retain the property and redeem it.
    Description of
                                                                          Retain the property and enter into a Reaffirmation        Yes
                          16 London St, Monongahela,                        Agreement.
    property              PA 15063-3421                                    Retain the property and [explain]:
    securing debt:



    Creditor's         Select Portfolio Services                           Surrender the property.                                 No
    name:                                                                  Retain the property and redeem it.
    Description of
                                                                          Retain the property and enter into a Reaffirmation        Yes
                          16 London St, Monongahela,                        Agreement.
    property              PA 15063-3421                                    Retain the property and [explain]:
    securing debt:

 Part 2:  List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                               Will the lease be assumed?



Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                            page 1

Software Copyright (c) 2022 CINGroup - www.cincompass.com
           Case 22-20979-TPA                        Doc 12      Filed 06/06/22 Entered 06/06/22 23:30:03                               Desc Main
                                                               Document      Page 4 of 44

 Debtor 1
 Debtor 2      Salzman, Leslie E. Jr. & Salzman, Melissa L.                                         Case number (if known)


 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Lessor's name:                                                                                                                 No
 Description of leased
 Property:                                                                                                                      Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Salzman                                                                X /s/ Melissa L. Salzman
       Leslie E. Salzman, Jr.                                                         Melissa L. Salzman
       Signature of Debtor 1                                                          Signature of Debtor 2

       Date        June 6, 2022                                                   Date     June 6, 2022




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                page 2

Software Copyright (c) 2022 CINGroup - www.cincompass.com
               Case 22-20979-TPA                             Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                                    Desc Main
                                                                           Document      Page 5 of 44
               Fill in this information to identify your case and this filing:

 Debtor 1                    Leslie E. Salzman, Jr.
                             First Name                             Middle Name                     Last Name

 Debtor 2                    Melissa L. Salzman
 (Spouse, if filing)         First Name                             Middle Name                     Last Name

                                                             WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:                     DIVISION

 Case number                                                                                                                                                 Check if this is an
                                                                                                                                                              amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
   Yes.        Where is the property?




 1.1                                                                        What is the property? Check all that apply


        16 London St
                                                                               Single-family home                             Do not deduct secured claims or exemptions. Put
                                                                                                                               the amount of any secured claims on Schedule D:
                                                                                    Duplex or multi-unit building
        Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property .
                                                                                    Condominium or cooperative
                                                                              
                                                                                   Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Monongahela                       PA        15063-3421                     Land                                       entire property?           portion you own?
        City                              State          ZIP Code                  Investment property                                $79,000.00                  $79,000.00
                                                                                   Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                   Other                                      (such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one     a life estate), if known.
                                                                                   Debtor 1 only                              Tenancy by the Entirety
                                                                                   Debtor 2 only
        County                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                                   At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:

                                                                            Debtor's residence


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here...........................................................................=>                           $79,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 1
Software Copyright (c) 2022 CINGroup - www.cincompass.com
          Case 22-20979-TPA                         Doc 12       Filed 06/06/22 Entered 06/06/22 23:30:03                                      Desc Main
                                                                Document      Page 6 of 44
 Debtor 1
 Debtor 2         Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                 Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
   Yes

  3.1    Make:       Kia                                    Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Sportage AWD                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:       2017                                    Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 42000         Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        valued using Kelley Blue Book
                                                             Check if this is community property                              $16,791.00                 $16,791.00
                                                               (see instructions)



  3.2    Make:       Ford                                   Who has an interest in the property? Check one             Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Fusion                                  Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
         Year:       2008                                    Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                180000         Debtor 1 and Debtor 2 only                                entire property?          portion you own?
         Other information:                                  At least one of the debtors and another
        valued using Kelley Blue Book
                                                             Check if this is community property                                $1,500.00                 $1,500.00
                                                               (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   .you have attached for Part 2. Write that number here.............................................................................=>                $18,291.00

 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.
6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes.     Describe.....
                                    couch at marital residence                                                                                                  $10.00

                                    chairs at marital residence                                                                                                 $10.00

                                    dining room table and chairs located at joint residence                                                                     $75.00

                                    china buffet located at Debtor's residence                                                                                  $50.00

                                    queen-size bed located at residence                                                                                         $40.00

                                    twin-size water bed located at residence                                                                                    $20.00

                                    bunk beds at residence                                                                                                      $40.00

                                    three dressers located at residece                                                                                          $80.00


Official Form 106A/B                                                 Schedule A/B: Property                                                                        page 2
Software Copyright (c) 2022 CINGroup - www.cincompass.com
          Case 22-20979-TPA                         Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03                                  Desc Main
                                                             Document      Page 7 of 44
 Debtor 1
 Debtor 2       Salzman, Leslie E. Jr. & Salzman, Melissa L.                                            Case number (if known)

                                    bookcase located at residence                                                                                        $20.00

                                    jewelry chest located at residence                                                                                   $25.00

                                    armoire located at residence                                                                                         $30.00

                                    desk located at debtor's residence                                                                                   $25.00

                                    weed trimmer located at residence                                                                                    $50.00

                                    push lawnmower located at residence                                                                                 $100.00

                                    bicycle located at residence                                                                                         $50.00

                                    exercise equipment located at residence                                                                             $100.00

                                    costume jewelry located at residence                                                                                 $75.00

                                    miscellaneous household items at residence                                                                          $300.00

                                    DVD collection located at residence                                                                                 $200.00


7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
    No
    Yes.     Describe.....
                                    dvd player located at Debtor's residence                                                                             $20.00

                                    43" television                                                                                                       $75.00

                                    20" television located at Debtor's residence                                                                         $30.00

                                    gas stove at residence                                                                                               $50.00

                                    refrigerator located at residence                                                                                   $100.00

                                    chest freezer located at Debtors'
                                     hom                                                                                                                 $30.00

                                    small kitchen appliances at residence                                                                               $100.00

                                    washing machine located at residence                                                                                 $40.00

                                    dryer located at residence                                                                                           $40.00

                                    hp laptop located at Debtors residence                                                                               $50.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
               collections, memorabilia, collectibles
    No
     Yes.    Describe.....

9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
              instruments
    No
     Yes.    Describe.....



Official Form 106A/B                                           Schedule A/B: Property                                                                       page 3
Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                                    Doc 12             Filed 06/06/22 Entered 06/06/22 23:30:03                        Desc Main
                                                                                   Document      Page 8 of 44
 Debtor 1
 Debtor 2          Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                            Case number (if known)

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes.        Describe.....
                                            shotgun at residence                                                                                                    $75.00

                                            pistol located at residence                                                                                           $200.00


11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes.        Describe.....
                                            whole family                                                                                                          $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.       Describe.....

13. Non-farm animals
     Examples: Dogs, cats, birds, horses
    No
     Yes.       Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
     Yes.       Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
     Part 3. Write that number here ..............................................................................                                           $2,610.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                        Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

16. Cash
     Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
                                                                                                                              savings
                                                                                                                              account at
                                                                                                                              PNC                                   $25.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
    No
   Yes........................                                     Institution name:


                                              17.1.      500                                    checking account at PNC bank                                      $500.00


18. Bonds, mutual funds, or publicly traded stocks
     Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
     Yes..................                            Institution or issuer name:


Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 4
Software Copyright (c) 2022 CINGroup - www.cincompass.com
           Case 22-20979-TPA                         Doc 12        Filed 06/06/22 Entered 06/06/22 23:30:03                             Desc Main
                                                                  Document      Page 9 of 44
 Debtor 1
 Debtor 2        Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                 Case number (if known)

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
    No
     Yes.     Give specific information about them...................
                                     Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
     Yes. Give specific information about them
                                           Issuer name:

21. Retirement or pension accounts
     Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                        Type of account:                   Institution name:
                                                                           401k                                                                    $26,970.00

                                        IRA                                IRA                                                                        $260.00


22. Security deposits and prepayments
     Your share of all unused deposits you have made so that you may continue service or use from a company
     Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
     Yes. .....................                                           Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
     Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
     Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
    No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




Official Form 106A/B                                                  Schedule A/B: Property                                                              page 5
Software Copyright (c) 2022 CINGroup - www.cincompass.com
           Case 22-20979-TPA                           Doc 12          Filed 06/06/22 Entered 06/06/22 23:30:03                                            Desc Main
                                                                      Document     Page 10 of 44
 Debtor 1
 Debtor 2        Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                               Case number (if known)

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                               compensation, Social Security benefits;
              unpaid loans you made to someone else
    No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                     s, or renter’
                                                                                                                 s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                           Company name:                                                         Beneficiary:                              Surrender or refund
                                                                                                                                                           value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
     died.
    No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
    No
     Yes.     Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
     Part 4. Write that number here.....................................................................................................................         $27,755.00

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
    Yes.    Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
       Yes.    Go to line 47.



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
    No
     Yes. Give specific information.........
Official Form 106A/B                                                        Schedule A/B: Property                                                                          page 6
Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                                Doc 12           Filed 06/06/22 Entered 06/06/22 23:30:03                                               Desc Main
                                                                             Document     Page 11 of 44
 Debtor 1
 Debtor 2         Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                                          Case number (if known)

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $79,000.00
 56. Part 2: Total vehicles, line 5                                                                           $18,291.00
 57. Part 3: Total personal and household items, line 15                                                       $2,610.00
 58. Part 4: Total financial assets, line 36                                                                  $27,755.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $48,656.00              Copy personal property total          $48,656.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $127,656.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 7
Software Copyright (c) 2022 CINGroup - www.cincompass.com
              Case 22-20979-TPA                     Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                                   Desc Main
                                                                  Document     Page 12 of 44
              Fill in this information to identify your case:

 Debtor 1                 Leslie E. Salzman, Jr.
                          First Name                        Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                    Last Name


                                                    WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.           11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 1 Exemptions
   Ford                                                               $1,500.00                                                  11 USC § 522(d)(2)
   Fusion
   2008                                                                                      100% of fair market value, up to
   180000                                                                                     any applicable statutory limit
      Line from Schedule A/B: 3.2

      couch at marital residence                                          $10.00                                                 11 USC § 522(d)(3)
      Line from Schedule A/B: 6.1
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      chairs at marital residence                                         $10.00                                                 11 USC § 522(d)(3)
      Line from Schedule A/B: 6.2
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      dining room table and chairs located                                $75.00                                                 11 USC § 522(d)(3)
      at joint residence
      Line from Schedule A/B: 6.3                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit

      china buffet located at Debtor's                                    $50.00                                                 11 USC § 522(d)(3)
      residence
      Line from Schedule A/B: 6.4                                                            100% of fair market value, up to
                                                                                              any applicable statutory limit


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                            page 1 of 5
Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                       Doc 12      Filed 06/06/22 Entered 06/06/22 23:30:03                                   Desc Main
                                                               Document     Page 13 of 44
 Debtor 1
 Debtor 2    Salzman, Leslie E. Jr. & Salzman, Melissa L.                                             Case number (if known)

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     queen-size bed located at residence                               $40.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.5
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     twin-size water bed located at                                    $20.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 6.6                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     bunk beds at residence                                            $40.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.7
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     three dressers located at residece                                $80.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.8
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     bookcase located at residence                                     $20.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.9
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     jewelry chest located at residence                                $25.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.10
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     armoire located at residence                                      $30.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.11
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     desk located at debtor's residence                                $25.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.12
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     weed trimmer located at residence                                 $50.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.13
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     push lawnmower located at                                        $100.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 6.14                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     bicycle located at residence                                      $50.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.15
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     exercise equipment located at                                    $100.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 6.16                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 2 of 5
Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                       Doc 12      Filed 06/06/22 Entered 06/06/22 23:30:03                                   Desc Main
                                                               Document     Page 14 of 44
 Debtor 1
 Debtor 2    Salzman, Leslie E. Jr. & Salzman, Melissa L.                                             Case number (if known)

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     costume jewelry located at                                        $75.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 6.17                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     miscellaneous household items at                                 $300.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 6.18                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     DVD collection located at residence                              $200.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 6.19
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     dvd player located at Debtor's                                    $20.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 7.1                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     43" television                                                    $75.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 7.2
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     20" television located at Debtor's                                $30.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 7.3                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     gas stove at residence                                            $50.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 7.4
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     refrigerator located at residence                                $100.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 7.5
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     chest freezer located at Debtors'                                 $30.00                                                 11 USC § 522(d)(3)
      hom
     Line from Schedule A/B: 7.6                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     small kitchen appliances at                                      $100.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 7.7                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     washing machine located at                                        $40.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 7.8                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     dryer located at residence                                        $40.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 7.9
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 3 of 5
Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                       Doc 12      Filed 06/06/22 Entered 06/06/22 23:30:03                                   Desc Main
                                                               Document     Page 15 of 44
 Debtor 1
 Debtor 2    Salzman, Leslie E. Jr. & Salzman, Melissa L.                                             Case number (if known)

     Brief description of the property and line on          Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                  portion you own
                                                            Copy the value from    Check only one box for each exemption.
                                                            Schedule A/B

     hp laptop located at Debtors                                      $50.00                                                 11 USC § 522(d)(3)
     residence
     Line from Schedule A/B: 7.10                                                      100% of fair market value, up to
                                                                                        any applicable statutory limit

     shotgun at residence                                              $75.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 10.1
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     pistol located at residence                                      $200.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 10.2
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     whole family                                                     $500.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     savings account at PNC                                            $25.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 16.1
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

     checking account at PNC bank                                     $500.00                                                 11 USC § 522(d)(3)
     Line from Schedule A/B: 17.1
                                                                                       100% of fair market value, up to
                                                                                        any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $189,050
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                        page 4 of 5
Software Copyright (c) 2022 CINGroup - www.cincompass.com
              Case 22-20979-TPA                     Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                                      Desc Main
                                                                  Document     Page 16 of 44
 Debtor 1
 Debtor 2       Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                Case number (if known)


 Fill in this information to identify your case:

 Debtor 1
                             First Name                     Middle Name                    Last Name

 Debtor 2                    Melissa L. Salzman
 (Spouse if, filing)         First Name                     Middle Name                    Last Name

                                                    WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                           4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions.           11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

 Debtor 2 Exemptions
      Brief description:
      Line from Schedule A/B:
                                                                                         
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

 3. Are you claiming a homestead exemption of more than $189,050?
    (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
             No
             Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                               page 5 of 5
Software Copyright (c) 2022 CINGroup - www.cincompass.com
              Case 22-20979-TPA                     Doc 12          Filed 06/06/22 Entered 06/06/22 23:30:03                                       Desc Main
                                                                   Document     Page 17 of 44
              Fill in this information to identify your case:

 Debtor 1                   Leslie E. Salzman, Jr.
                            First Name                       Middle Name                     Last Name

 Debtor 2                   Melissa L. Salzman
 (Spouse if, filing)        First Name                       Middle Name                     Last Name

                                                     WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:             DIVISION

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally                                     Describe the property that secures the claim:                 $17,604.79               $16,791.00               $813.79
         Creditor's Name
                                                  2017 Kia Sportage AWD
                                                  valued using Kelley Blue Book
         PO Box 380901                            As of the date you file, the claim is: Check all that
         Bloomington, MN                          apply.
         55438-0901                                Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                  An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
 Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          02/21                      Last 4 digits of account number       4912




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 2
Software Copyright (c) 2022 CINGroup - www.cincompass.com
           Case 22-20979-TPA                            Doc 12       Filed 06/06/22 Entered 06/06/22 23:30:03                                 Desc Main
                                                                    Document     Page 18 of 44
 Debtor 1 Leslie E. Salzman, Jr.                                                                           Case number (if known)
              First Name                  Middle Name                     Last Name
 Debtor 2 Melissa L. Salzman
              First Name                  Middle Name                     Last Name


 2.2    Select Portfolio Services                  Describe the property that secures the claim:                  $49,703.24         $79,000.00                  $0.00
        Creditor's Name
                                                   16 London St, Monongahela, PA
        Attn: Bankruptcy                           15063-3421
        Department                                 Debtor's residence
        PO Box 65250                               As of the date you file, the claim is: Check all that
        Salt Lake City, UT                         apply.

        84165-0250                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        4755

 2.3    Select Portfolio Services                  Describe the property that secures the claim:                  $13,593.33         $79,000.00                  $0.00
        Creditor's Name
                                                   16 London St, Monongahela, PA
        Attn: Bankruptcy                           15063-3421
        Department                                 Debtor's residence
        PO Box 65250                               As of the date you file, the claim is: Check all that
        Salt Lake City, UT                         apply.

        84165-0250                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)

 Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        4763


 Add the dollar value of your entries in Column A on this page. Write that number here:                                 $80,901.36
 If this is the last page of your form, add the dollar value totals from all pages.
 Write that number here:                                                                                                $80,901.36

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                           page 2 of 2
Software Copyright (c) 2022 CINGroup - www.cincompass.com
              Case 22-20979-TPA                        Doc 12        Filed 06/06/22 Entered 06/06/22 23:30:03                                 Desc Main
                                                                    Document     Page 19 of 44
      Fill in this information to identify your case:

 Debtor 1                     Leslie E. Salzman, Jr.
                              First Name                      Middle Name                     Last Name

 Debtor 2                     Melissa L. Salzman
 (Spouse if, filing)          First Name                     Middle Name                      Last Name

                                                        WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:                DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

       No. Go to Part 2.
        Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 Part 3:        List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 Part 4:        Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.      Domestic support obligations                                              6a.        $                  0.00
 Total claims
 from Part 1            6b.      Taxes and certain other debts you owe the government                      6b.        $                  0.00
                        6c.      Claims for death or personal injury while you were intoxicated            6c.        $                  0.00
                        6d.      Other. Add all other priority unsecured claims. Write that amount here.   6d.        $                  0.00

                        6e.      Total Priority. Add lines 6a through 6d.                                  6e.        $                  0.00

                                                                                                                          Total Claim
                        6f.      Student loans                                                             6f.        $                  0.00
 Total claims
 from Part 2            6g.      Obligations arising out of a separation agreement or divorce that
                                 you did not report as priority claims                                     6g.        $                  0.00
                        6h.      Debts to pension or profit-sharing plans, and other similar debts         6h.        $                  0.00
                        6i.      Other. Add all other nonpriority unsecured claims. Write that amount      6i.
                                 here.                                                                                $                  0.00

                        6j.      Total Nonpriority. Add lines 6f through 6i.                               6j.        $                  0.00




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 1 of 1
Software Copyright (c) 2022 CINGroup - www.cincompass.com                                                        G28694
              Case 22-20979-TPA                       Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                                Desc Main
                                                                    Document     Page 20 of 44
              Fill in this information to identify your case:

 Debtor 1                 Leslie E. Salzman, Jr.
                          First Name                         Middle Name              Last Name

 Debtor 2                 Melissa L. Salzman
 (Spouse if, filing)      First Name                         Middle Name              Last Name

                                                       WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:               DIVISION

 Case number
 (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules.     You have nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
        unexpired leases.


         Person or company with whom you have the contract or lease                     State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number       Street

           City                                     State                  ZIP Code
  2.2
           Name


           Number       Street

           City                                     State                  ZIP Code
  2.3
           Name


           Number       Street

           City                                     State                  ZIP Code
  2.4
           Name


           Number       Street

           City                                     State                  ZIP Code
  2.5
           Name


           Number       Street

           City                                     State                  ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                      Page 1 of 1
Software Copyright (c) 2022 CINGroup - www.cincompass.com
              Case 22-20979-TPA                          Doc 12          Filed 06/06/22 Entered 06/06/22 23:30:03                 Desc Main
                                                                        Document     Page 21 of 44
              Fill in this information to identify your case:

 Debtor 1                   Leslie E. Salzman, Jr.
                            First Name                            Middle Name        Last Name

 Debtor 2                   Melissa L. Salzman
 (Spouse if, filing)        First Name                            Middle Name        Last Name

                                                         WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:                 DIVISION

 Case number
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                  amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                        12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
      line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
      106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
      Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                     State                       ZIP Code




    3.2                                                                                                 Schedule D, line
                 Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                 Number            Street
                 City                                     State                       ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                    Page 1 of 1
Software Copyright (c) 2022 CINGroup - www.cincompass.com
             Case 22-20979-TPA                    Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03                                 Desc Main
                                                           Document     Page 22 of 44


Fill in this information to identify your case:

Debtor 1                      Leslie E. Salzman, Jr.

Debtor 2                      Melissa L. Salzman
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF PENNSYLVANIA,
                                              PITTSBURGH DIVISION

Case number                                                                                                Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter 13
                                                                                                              income as of the following date:
Official Form 106I                                                                                             MM / DD/ YYYY
Schedule I: Your Income                                                                                                                      12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                  Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status*
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation              See Schedule Attached
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student or Employer's address
       homemaker, if it applies.


                                             How long employed there?
                                                                                *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
space, attach a separate sheet to this form.

                                                                                                         For Debtor 1        For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.             2.    $        4,289.55       $               N/A

3.     Estimate and list monthly overtime pay.                                                 3.   +$              0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                            4.    $      4,289.55             $         N/A




Official Form 106I                                                        Schedule I: Your Income                                                    page 1
            Case 22-20979-TPA               Doc 12      Filed 06/06/22 Entered 06/06/22 23:30:03                                    Desc Main
                                                       Document     Page 23 of 44

Debtor 1
Debtor 2     Salzman, Leslie E. Jr. & Salzman, Melissa L.                                           Case number (if known)



                                                                                                        For Debtor 1          For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                      4.          $      4,289.55       $              N/A

5.    List all payroll deductions:
      5a.     Tax, Medicare, and Social Security deductions                                  5a.        $          0.00   $                   N/A
      5b.     Mandatory contributions for retirement plans                                   5b.        $          0.00   $                   N/A
      5c.     Voluntary contributions for retirement plans                                   5c.        $          0.00   $                   N/A
      5d.     Required repayments of retirement fund loans                                   5d.        $          0.00   $                   N/A
      5e.     Insurance                                                                      5e.        $          0.00   $                   N/A
      5f.     Domestic support obligations                                                   5f.        $          0.00   $                   N/A
      5g.     Union dues                                                                     5g.        $          0.00   $                   N/A
      5h.     Other deductions. Specify: Deductions                                          5h.+       $      1,574.71 + $                   N/A
                                                                                                        $          0.00   $                   N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                        6.      $          1,574.71       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.      $          2,714.84       $               N/A
8.    List all other income regularly received:
      8a.    Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                             8b.        $              0.00   $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                          8d.        $              0.00   $               N/A
      8e.    Social Security                                                                 8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                    0.00   $               N/A
      8g. Pension or retirement income                                                       8g. $                     0.00   $               N/A
      8h. Other monthly income. Specify:                                                     8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                              9.      $                  0.00   $                N/A

10. Calculate monthly income. Add line 7 + line 9.                                         10. $            2,714.84 + $           N/A = $           2,714.84
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                       11.    +$             0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.       $          2,714.84
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
     No.
         Yes. Explain:




Official Form 106I                                                      Schedule I: Your Income                                                       page 2
           Case 22-20979-TPA          Doc 12       Filed 06/06/22 Entered 06/06/22 23:30:03               Desc Main
                                                  Document     Page 24 of 44

Debtor 1
Debtor 2    Salzman, Leslie E. Jr. & Salzman, Melissa L.                         Case number (if known)




                                                  Official Form B 6I
                                  Attachment for Additional Employment Information

Debtor
Occupation
Name of Employer        Crossczyk
How long employed
Address of Employer     1030 Clifton Library Rd
                        Bethel Park, PA 15102
Debtor
Occupation
Name of Employer        Department of Defense
How long employed
Address of Employer




Official Form 106I                                         Schedule I: Your Income                                    page 3
        Case 22-20979-TPA                     Doc 12        Filed 06/06/22 Entered 06/06/22 23:30:03                                  Desc Main
                                                           Document     Page 25 of 44


Fill in this information to identify your case:

Debtor 1              Leslie E. Salzman, Jr.                                                                 Check if this is:
                                                                                                              An amended filing
Debtor 2              Melissa L. Salzman                                                                      A supplement showing postpetition chapter 13
(Spouse, if filing)                                                                                              expenses as of the following date:

United States Bankruptcy Court for the:    WESTERN DISTRICT OF PENNSYLVANIA,                                         MM / DD / YYYY
                                           PITTSBURGH DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
           No
                 Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?             No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’  s relationship to        Dependent’
                                                                                                                                 s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include
      expenses of people other than
                                                No
      yourself and your dependents?              Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the
value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                          460.00

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.    $                         62.20
      4b. Property, homeowner’    s, or renter’
                                              s insurance                                                   4b.    $                         58.33
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                         33.33
      4d. Homeowner’     s association or condominium dues                                                  4d.    $                          0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                          0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
       Case 22-20979-TPA                      Doc 12        Filed 06/06/22 Entered 06/06/22 23:30:03                                         Desc Main
                                                           Document     Page 26 of 44

Debtor 1
Debtor 2     Salzman, Leslie E. Jr. & Salzman, Melissa L.                                              Case number (if known)

6.    Utilities:
      6a.     Electricity, heat, natural gas                                                    6a. $                                              200.00
      6b. Water, sewer, garbage collection                                                     6b. $                                               170.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              345.00
      6d. Other. Specify:                                                                      6d. $                                                 0.00
7.    Food and housekeeping supplies                                                             7. $                                              350.00
8.    Childcare and children’     s education costs                                              8. $                                                0.00
9.    Clothing, laundry, and dry cleaning                                                        9. $                                               25.00
10.   Personal care products and services                                                      10. $                                                 0.00
11.   Medical and dental expenses                                                              11. $                                                 0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                             12. $                                               300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
14.   Charitable contributions and religious donations                                         14. $                                                 0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                     15a. $                                                 0.00
      15b. Health insurance                                                                   15b. $                                                 0.00
      15c. Vehicle insurance                                                                  15c. $                                               160.00
      15d. Other insurance. Specify:                                                          15d. $                                                 0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                 16. $                                                  0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                         17a. $                                               350.00
      17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
      17c. Other. Specify:                                                                    17c. $                                                 0.00
      17d. Other. Specify:                                                                    17d. $                                                 0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
      Specify:                                                                                 19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                        20a. $                                                  0.00
      20b. Real estate taxes                                                                  20b. $                                                  0.00
      20c. Property, homeowner’      s, or renter’
                                                 s insurance                                  20c. $                                                  0.03
      20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
      20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
21.   Other: Specify:        Vet Bills                                                         21. +$                                                15.00
      Home School Supplies                                                                          +$                                               50.00
      Medical Expenses                                                                              +$                                               20.00
      Non-Food Grocery                                                                              +$                                               50.00
      Pet Food                                                                                      +$                                               25.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                      $                       2,673.89
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       2,673.89
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               2,714.84
    23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              2,673.89

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                   40.95

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
      No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
             Case 22-20979-TPA                Doc 12        Filed 06/06/22 Entered 06/06/22 23:30:03                           Desc Main
                                                           Document     Page 27 of 44



      Fill in this information to identify your case:

Debtor 1                    Leslie E. Salzman, Jr.
                            First Name               Middle Name           Last Name

Debtor 2                    Melissa L. Salzman
(Spouse if, filing)         First Name               Middle Name           Last Name


                                               WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
United States Bankruptcy Court for the:        DIVISION

Case number
(if known)
                                                                                                                             Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                  12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Salzman                                                       X   /s/ Melissa L. Salzman
             Leslie E. Salzman, Jr.                                            Melissa L. Salzman
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       June 6, 2022                                           Date    June 6, 2022
              Case 22-20979-TPA                           Doc 12          Filed 06/06/22 Entered 06/06/22 23:30:03                                                    Desc Main
                                                                         Document     Page 28 of 44
              Fill in this information to identify your case:

 Debtor 1                   Leslie E. Salzman, Jr.
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Melissa L. Salzman
 (Spouse if, filing)        First Name                           Middle Name                          Last Name

                                                          WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:                  DIVISION

 Case number
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $              79,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              48,656.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             127,656.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $              80,901.36

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                 $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                   $                      0.00


                                                                                                                                     Your total liabilities $                    80,901.36


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                2,714.84

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                2,673.89

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.



 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
Software Copyright (c) 2022 CINGroup - www.cincompass.com
           Case 22-20979-TPA                        Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03                              Desc Main
                                                             Document     Page 29 of 44
 Debtor 1
 Debtor 2     Salzman, Leslie E. Jr. & Salzman, Melissa L.                            Case number (if known)
            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
             court with your other schedules.

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $            4,094.16


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
Software Copyright (c) 2022 CINGroup - www.cincompass.com
              Case 22-20979-TPA                     Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                                   Desc Main
                                                                  Document     Page 30 of 44



              Fill in this information to identify your case:

 Debtor 1                  Leslie E. Salzman, Jr.
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Melissa L. Salzman
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


                                                    WESTERN DISTRICT OF PENNSYLVANIA, PITTSBURGH
 United States Bankruptcy Court for the:            DIVISION

 Case number
 (if known)
                                                                                                                                             Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                 04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:         Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1:                                               Dates Debtor 1 lived       Debtor 2 Prior Address:                                Dates Debtor 2
                                                                there                                                                             lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2          Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                 Gross income                  Sources of income               Gross income
                                                  Check all that apply.             (before deductions and        Check all that apply.           (before deductions
                                                                                    exclusions)                                                   and exclusions)

 From January 1 of current year until             Wages, commissions,                         $17,000.00          Wages, commissions,                             $0.00
 the date you filed for bankruptcy:                                                                               bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                           Operating a business




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 1

Software Copyright (c) 2022 CINGroup - www.cincompass.com
           Case 22-20979-TPA                        Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                                  Desc Main
                                                                  Document     Page 31 of 44
 Debtor 1
 Debtor 2     Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                 Case number (if known)


                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                 Gross income                  Sources of income             Gross income
                                                  Check all that apply.             (before deductions and        Check all that apply.         (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                          Wages, commissions,                         $44,601.00          Wages, commissions,                        $0.00
 (January 1 to December 31, 2021 )                                                                                bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                           Operating a business

 For the calendar year before that:               Wages, commissions,                         $37,452.00          Wages, commissions,                        $0.00
 (January 1 to December 31, 2020 )                                                                                bonuses, tips
                                                  bonuses, tips
                                                   Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
      other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
      you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2
                                                  Sources of income                 Gross income from             Sources of income             Gross income
                                                  Describe below.                   each source                   Describe below.               (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’ s or Debtor 2’   s debts primarily consumer debts?
       No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                            incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.      Go to line 7.
                        Yes    List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you paid that
                                creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No.         Go to line 7.
                        Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                  payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                  this bankruptcy case.


       Creditor's Name and Address                            Dates of payment              Total amount          Amount you        Was this payment for ...
                                                                                                    paid             still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
      which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
      business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

           No
           Yes. List all payments to an insider.
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe

Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

Software Copyright (c) 2022 CINGroup - www.cincompass.com
           Case 22-20979-TPA                          Doc 12     Filed 06/06/22 Entered 06/06/22 23:30:03                                      Desc Main
                                                                Document     Page 32 of 44
 Debtor 1
 Debtor 2     Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                 Case number (if known)


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
       Insider's Name and Address                             Dates of payment              Total amount          Amount you        Reason for this payment
                                                                                                    paid             still owe      Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
      and contract disputes.

           No
           Yes. Fill in the details.
       Case title                                             Nature of the case           Court or agency                          Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
       Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                            property
                                                              Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
       Creditor Name and Address                              Describe the action the creditor took                          Date action was                 Amount
                                                                                                                             taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave                    Value
       person                                                                                                                the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                         Value
       more than $600                                                                                                        contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

Software Copyright (c) 2022 CINGroup - www.cincompass.com
           Case 22-20979-TPA                        Doc 12        Filed 06/06/22 Entered 06/06/22 23:30:03                                  Desc Main
                                                                 Document     Page 33 of 44
 Debtor 1
 Debtor 2     Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                 Case number (if known)


      or gambling?

           No
           Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                     Date of your       Value of property
       how the loss occurred                                                                                                 loss                            lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 ofSchedule A/B: Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment or          Amount of
       Address                                                      transferred                                              transfer was              payment
       Email or website address                                                                                              made
       Person Who Made the Payment, if Not You
       Melenyzer & Agrafiotis, LLC                                  0.00                                                                                   $0.00
       411 Washington Ave
       Charleroi, PA 15022-1531


       Thomas P. Agrafiotis, Esquire                                Payment                                                  6/1                      $1,000.00
       411 Washington Ave
       Charleroi, PA 15022-1531


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
       Person Who Was Paid                                          Description and value of any property                    Date payment or          Amount of
       Address                                                      transferred                                              transfer was              payment
                                                                                                                             made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
    gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
       Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
       Address                                                      property transferred                       payments received or debts      made
                                                                                                               paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
       Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                               made




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 4

Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                       Doc 12       Filed 06/06/22 Entered 06/06/22 23:30:03                                 Desc Main
                                                                Document     Page 34 of 44
 Debtor 1
 Debtor 2      Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
     No
           Yes. Fill in the details.
       Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was     Last balance before
       Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,         closing or transfer
       Code)                                                                                                           moved, or
                                                                                                                       transferred
       Citizens Bank                                          XXXX-unknown                   Checking                                                 $-16.00
       501 McKean Ave                                                                         Savings
       Charleroi, PA 15022-1558
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
       Name of Financial Institution                                Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State                                       have it?
                                                                    and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
       Name of Storage Facility                                     Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)           to it?                                                                     have it?
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

           No
           Yes. Fill in the details.
       Owner's Name                                                 Where is the property?                 Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                    Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
      controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
      own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
      material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5

Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                        Doc 12      Filed 06/06/22 Entered 06/06/22 23:30:03                                      Desc Main
                                                                Document     Page 35 of 44
 Debtor 1
 Debtor 2      Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                    Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
        Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
        Name of site                                                Governmental unit                              Environmental law, if you         Date of notice
        Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                    ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
        Case Title                                                  Court or agency                            Nature of the case                    Status of the
        Case Number                                                 Name                                                                             case
                                                                    Address (Number, Street, City, State
                                                                    and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                         Describe the nature of the business                   Employer Identification number
        Address                                                                                                     Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                    Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
        Name                                                  Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Salzman                                                            /s/ Melissa L. Salzman
 Leslie E. Salzman, Jr.                                                 Melissa L. Salzman
 Signature of Debtor 1                                                  Signature of Debtor 2

 Date      June 6, 2022                                                 Date        June 6, 2022

Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6

Software Copyright (c) 2022 CINGroup - www.cincompass.com
          Case 22-20979-TPA                         Doc 12       Filed 06/06/22 Entered 06/06/22 23:30:03                                   Desc Main
                                                                Document     Page 36 of 44
 Debtor 1
 Debtor 2     Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                 Case number (if known)


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
No
 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
No
 Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 7

Software Copyright (c) 2022 CINGroup - www.cincompass.com
              Case 22-20979-TPA                     Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                                    Desc Main
                                                                  Document     Page 37 of 44

 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Leslie E. Salzman, Jr.
 Debtor 2
 (Spouse, if filing)
                       Melissa L. Salzman                                                             1. There is no presumption of abuse
                                                                                                       2. The calculation to determine if a presumption of abuse
                                                   Western District of Pennsylvania,
 United States Bankruptcy Court for the:                                                                     applies will be made underChapter 7 Means Test
                                                   Pittsburgh Division
                                                                                                             Calculation (Official Form 122A-2).
 Case number                                                                                           3. The Means Test does not apply now because of qualified
 (if known)                                                                                                  military service but it could apply later.
                                                                                                        Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
         Not married. Fill out Column A, lines 2-11.
        Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
          Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
          Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                  penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                  apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
    own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                 Column B
                                                                                                        Debtor 1                 Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                                      $                 4,094.16        $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                    $                       0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents, and
     roommates. Include regular contributions from a spouse only if Column B is not filled in.
     Do not include payments you listed on line .3                                             $                       0.00      $               0.00
  5. Net income from operating a business, profession, or farm
                                                                        Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                     0.00      $               0.00
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                            $    0.00
        Ordinary and necessary operating expenses                        -$    0.00
        Net monthly income from rental or other real property            $     0.00 Copy here -> $                     0.00      $               0.00
                                                                                                        $              0.00      $               0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 1
Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                       Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                                  Desc Main
                                                                  Document     Page 38 of 44
 Debtor 1
 Debtor 2     Salzman, Leslie E. Jr. & Salzman, Melissa L.                                               Case number (if known)



                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2 or
                                                                                                                                  non-filing spouse
  8. Unemployment compensation                                                                       $                 0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit under the
       Social Security Act. Instead, list it here:
            For you                                                   $                 0.00
            For your spouse                                           $                 0.00
  9. Pension or retirement income. Do not include any amount received that was a benefit
      under the Social Security Act. Also, except as stated in the next sentence, do not
      include any compensation, pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or death of
      a member of the uniformed services. If you received any retired pay paid under chapter
      61 of title 10, then include that pay only to the extent that it does not exceed the amount
      of retired pay to which you would otherwise be entitled if retired under any provision of
      title 10 other than chapter 61 of that title.                                                $                   0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments received
      as a victim of a war crime, a crime against humanity, or international or domestic
      terrorism; or compensation pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
              .                                                                                    $                   0.00       $           0.00
                                                                                                     $                 0.00       $           0.00
                  Total amounts from separate pages, if any.                                    +    $                 0.00       $           0.00
  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.               $       4,094.16          +   $           0.00   =    $      4,094.16

                                                                                                                                                  Total current monthly
                                                                                                                                                  income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:

       12a. Copy your total current monthly income from line 11                                                Copy line 11 here=>            $          4,094.16

              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                                   12b. $        49,129.92

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                   PA

       Fill in the number of people in your household.                         4
       Fill in the median family income for your state and size of household.                                                    13.          $       110,077.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                   ’
       form. This list may also be available at the bankruptcy clerk
                                                                   s office.

  14. How do the lines compare?
       14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                 There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Salzman                                                             X /s/ Melissa L. Salzman
                Leslie E. Salzman, Jr.                                                    Melissa L. Salzman
                Signature of Debtor 1                                                     Signature of Debtor 2

Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                                                   page 2
Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                       Doc 12         Filed 06/06/22 Entered 06/06/22 23:30:03                  Desc Main
                                                                  Document     Page 39 of 44
 Debtor 1
 Debtor 2    Salzman, Leslie E. Jr. & Salzman, Melissa L.                                           Case number (if known)

        Date June 6, 2022                                                           Date June 6, 2022
             MM / DD / YYYY                                                              MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                        Chapter 7 Statement of Your Current Monthly Income                       page 3
Software Copyright (c) 2022 CINGroup - www.cincompass.com
          Case 22-20979-TPA                         Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03                     Desc Main
                                                             Document     Page 40 of 44

      Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “ incurred by an individual                                                   $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions
                                                                                          exist for particular debts, and liens on property may
        Chapter 7 - Liquidation                                                           still be enforced after discharge. For example, a
                                                                                          creditor may have the right to foreclose a home
        Chapter 11 - Reorganization                                                       mortgage or repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                    page 1

Software Copyright (c) 2022 CINGroup - www.cincompass.com
          Case 22-20979-TPA                         Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03                          Desc Main
                                                             Document     Page 41 of 44


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you
 have enough income to repay creditors a certain                                          Exemptions are not automatic. To exempt property,
 amount. You must file Chapter 7 Statement of Your                                        you must list it on Schedule C: The Property You Claim
 Current Monthly Income (Official Form 122A –1) if you                                    as Exempt (Official Form 106C). If you do not list the
 are an individual filing for bankruptcy under chapter 7.                                 property, the trustee may sell it and pay all of the
 This form will determine your current monthly income                                     proceeds to your creditors.
 and compare whether your income is more than the
 median income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
 Calculation (Official Form 122A –2). The calculations
                                                                                                      $1,738    total fee
 on the form— sometimes called the Means
 Test—deduct from your income living expenses and
                                                                                          Chapter 11 is often used for reorganizing a business,
 payments on certain debts to determine any amount
                                                                                          but is also available to individuals. The provisions of
 available to pay unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2

Software Copyright (c) 2022 CINGroup - www.cincompass.com
          Case 22-20979-TPA                         Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03                        Desc Main
                                                             Document     Page 42 of 44
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a
             mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
             and following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
             to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $78       administrative fee                                          factors.
                   $278       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that
 and fishermen to repay their debts over a period of time                                 are not discharged and that you may still be
 using future earnings and to discharge some debts that                                   responsible to pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $78       administrative fee                                                 fiduciary capacity,
                   $313       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3

Software Copyright (c) 2022 CINGroup - www.cincompass.com
          Case 22-20979-TPA                         Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03                        Desc Main
                                                             Document     Page 43 of 44
                                                                                          A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                            together—called a joint case. If you file a joint case
                                                                                          and each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information
 within the deadlines set by the Bankruptcy Code, the                                     Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you
        connection with a bankruptcy case, you may be                                     generally must complete a financial management
        fined, imprisoned, or both.                                                       instructional course before you can receive a
                                                                                          discharge. If you are filing a joint case, both spouses
        All information you supply in connection with a                                   must complete the course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 4

Software Copyright (c) 2022 CINGroup - www.cincompass.com
            Case 22-20979-TPA                       Doc 12    Filed 06/06/22 Entered 06/06/22 23:30:03                            Desc Main
                                                             Document     Page 44 of 44
B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                  Western District of Pennsylvania, Pittsburgh Division
 In re       Salzman, Leslie E. Jr. & Salzman, Melissa L.                                                    Case No.
                                                                             Debtor(s)                       Chapter      7

                             DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                 $                       0.00
             Prior to the filing of this statement I have received                                       $                       0.00
             Balance Due                                                                                 $                       0.00

2.     The source of the compensation paid to me was:
                   Debtor          Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor          Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
            firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 6, 2022                                                            /s/ Thomas P. Agrafiotis
     Date                                                                    Thomas P. Agrafiotis
                                                                             Signature of Attorney
                                                                             Melenyzer & Agrafiotis, LLC

                                                                             411 Washington Ave
                                                                             Charleroi, PA 15022-1531

                                                                             tpagrafiotislaw@comcast.net
                                                                             Name of law firm




Software Copyright (c) 2022 CINGroup - www.cincompass.com
